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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA (PHOENIX)
ARIZONA CENTER FOR DISABILITY

LAW,

Plaintiff, CIV 99-107-PHX-EHC (OMP)

ORDER

)
)
)
)
Vv. )
)
JAMES R. ALLEN, M.D., et al., )
)

}

Defendants.

Plaintiff's motion for summary judgment (# 21-1) is granted
in part and denied in part. Defendants' motion for summary
judgment (# 49-1) is denied.

a ¢

DATED this “day of October, 2000.

   

OWEN M. P E
U.S. DISTRICT COURT JUDGE

1 - ORDER
